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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF COLORADO
                      The Honorable Michael E. Romero

    In re:
                                              Case No. 17-17630 MER
    MATTHEW CURTIS WITT,

               Debtor.                        Chapter 7

    REKON, LLC,
                                              Adv. Case No. 17-01548 MER
               Plaintiff.

    v.

    MATTHEW CURTIS WITT,

               Defendant.

                                          ORDER

     THIS MATTER comes to be heard on the motion to intervene in this
proceeding filed by Noel West Lane, III (“Lane”) on May 3, 2019.1

      Lane seeks to intervene in these proceedings pursuant to Fed. R. Civ.
P. 24, which is made applicable to adversary proceedings by Fed. R. Bankr.
P. 7024. Fed. R. Civ. P. 24 states:

         (a) Intervention of Right. On timely motion, the court must permit
         anyone to intervene who:

             (1) is given an unconditional right to intervene by a federal
             statute; or

             (2) claims an interest relating to the property or transaction
             that is the subject of the action, and is so situated that
             disposing of the action may as a practical matter impair or
             impede the movant's ability to protect its interest, unless
             existing parties adequately represent that interest.



1
    ECF No. 76 (“Motion to Intervene”).
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         (b) Permissive Intervention.

             (1) In General. On timely motion, the court may permit anyone
             to intervene who:

                 (A) is given a conditional right to intervene by a federal
                 statute; or

                 (B) has a claim or defense that shares with the main action
                 a common question of law or fact.

             (2) By a Government Officer or Agency. On timely motion, the
             court may permit a federal or state governmental officer or
             agency to intervene if a party's claim or defense is based on:

                 (A) a statute or executive order administered by the officer
                 or agency; or

                 (B) any regulation, order, requirement, or agreement issued
                 or made under the statute or executive order.2

Lane does not specify whether he seeks to intervene pursuant to Fed. R. Civ.
P. 24(a) or 24(b). In any event, whether the Motion to Intervene is timely
or not, Lane fails to show why he can or may intervene in this proceeding.

      First, Lane does specify any federal statute under which he is given an
unconditional right to intervene under Fed. R. Civ. P. 24(a)(1), or a
conditional right to intervene under Fed. R. Civ. P. 24(b)(1)(A). Therefore,
intervention cannot be granted under either of those subsections.

       Second, Lane has not demonstrated an interest related to the property
or transaction that is the subject of this proceeding under Fed. R. Civ. P.
24(a)(2). This element is “a practical guide to disposing of lawsuits by
involving as many apparently concerned persons as compatible with
efficiency and due process.”3 “The movant's claimed interest is measured in
terms of its relationship to the property or transaction that is the subject of
the action, not in terms of the particular issue before the district court.”4



2
    Fed. R. Civ. P. 24(a), (b).

3
    San Juan County v. U.S., 503 F.3d 1163, 1195 (10th Cir. 2007).

4
 WildEarth Guardians v. Nat'l Park Serv., 604 F.3d 1192, 1198 (10th Cir. 2010); Utah Ass'n
of Ctys. v. Clinton, 255 F.3d 1246, 1252 (10th Cir. 2001) (“The interest of the intervenor is
not measured by the particular issue before the court but is instead measured by whether


                                              2
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Lane’s only involvement in this proceeding relates to the 44 boxes of
documents of which the plaintiff and defendant herein have sought discovery
via subpoenas. As soon as the parties complete their review and duplication
of document they deem relevant to this proceeding, Lane’s involvement
ceases. No allegations of fraud, conspiracy, or violations of the Federal
Communications Act of 1934 will change that. To the extent Lane believes
he has claims against these or other non-parties, such claims do not appear
to have any relation to Rekon, LLC’s judgment against Matthew Witt. The
Court finds Lane has simply failed to demonstrate what, if any, interest he
has that would support intervention under Fed. R. Civ. P. 24(a). Therefore,
Lane has not shown he is allowed to intervene as a matter of right under
Fed. R. Civ. P. 24(a).

      Third, the Court finds permissive intervention is not appropriate under
Fed. R. Civ. P. 24(b) because permitting Lane to intervene under Fed. R. Civ.
P. 24(b) would cause undue delay and prejudice to the parties in this
proceeding. The plain language of Fed. R. Civ. P. 24(b)(3) requires the
Court to “consider whether the intervention will unduly delay or prejudice
adjudication of the original parties’ rights.”5 “Additional parties always take
additional time that may result in delay and that thus may support the
denial of intervention.”6 The U.S. Court of Appeals for the Tenth Circuit has
explained if the movant’s intervention “clutter[s] the action” without aiding
the current parties or issues, the motion may be denied in the Court’s
discretion.7 Such is the case here. The myriad of allegations, new claims,
and new causes of action Lane conjures against the parties hereto, and non-
parties to this proceeding, would undoubtedly clutter the Court’s
determination under § 523. Nor would those actions appear to aid in the
Court’s determination. Accordingly, the Court finds permissive intervention
under Fed. R. Civ. P. 24(b) to be inappropriate.

     Fourth, Lane is not a government officer or government agency.
Therefore, Fed. R. Civ. P. 24(b)(2) does not apply.




the interest the intervenor claims is related to the property that is the subject of the
action.”) (emphasis original).

5
    Fed. R. Civ. P. 24(b)(3).

6
 United States v. N. Colorado Water Conservancy Dist., 251 F.R.D. 590, 599 (D. Colo.
2008) (quoting 7C Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice &
Procedure § 1913 (3d ed.2007)).

7
    Arney v. Finney, 967 F.2d 418, 421-22 (10th Cir. 1992).



                                               3
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      Fifth, the Motion to Intervene is procedurally defective because it is
not “accompanied by a pleading that sets out the claim or defense for which
intervention is sought,” as required by Fed. R. Civ. P. 24(c).

       Although the Court denies Lane’s request to intervene as a party in
this case, the Court finds denial of the motion should not preclude Lane from
being heard with respect to discovery issues surrounding the 44 boxes of
documents. On April 10, 2019, the Court ordered Lane to turnover the
boxes of documents to an independent third-party for examination by
Rekon, LLC and Matthew Witt.8 To the extent a discovery dispute arises in
connection with those boxes of documents, Lane, Rekon, LLC, and Matthew
Witt may seek a hearing from the Court under the Local Bankruptcy Rule
7026-1(d). The Court shall forewarn all parties that this is not the
appropriate forum for adjudication of disputes relating to ownership of the
boxes of documents, or any non-party disputes concerning, arising from, or
otherwise having any relationship with the boxes of documents.

         For the foregoing reasons,

         IT IS HEREBY ORDERED Lane’s Motion to Intervene is DENIED.



    Dated June 3, 2019                    BY THE COURT:


                                          _________________________
                                          Michael E. Romero, Chief Judge
                                          United States Bankruptcy Court




8
    ECF No. 70.



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